                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                                      )      Chapter 11
                                                            )
IYS VENTURES, LLC,                                          )      Case No. 23-06782
                                                            )
_________________________Debtor.                            )      Hon. David D. Cleary
IYS VENTURES, LLC., as Debtor and                           )
Debtor-in-Possession,                                       )
                                                            )
                                                            )
                       Plaintiff,                           )
                                                            )
       v.                                                   )      Adv. Case No.
                                                            )
ITRIA VENTURES, LLC; FOX CAPITAL GROUP,                    )
INC., BYZFUNDER NY, LLC, and THE                            )
HUNTINGTON NATIONAL BANK                                    )
                                                            )
                       Defendants.                          )

    DEBTOR’S COMPLAINT FOR DETERMINATION OF NATURE, EXTENT AND
                  PRIORITY OF LIENS AND INTERESTS

       NOW Comes IYS VENTURES, LLC. as Debtor and Debtor-in-Possession (the

“Debtor”), in the pending Chapter 11 case (“Case”), by and through its attorneys, Gregory K.

Stern, Monica C. O’Brien, Rachel S. Sandler and Dennis E. Quaid, and in support of its

Complaint For Determination of Nature, Extent and Priority of Liens and Interests, states as

follows:

                                JURIDSDICTION AND VENUE

       1.      On May 23, 2023, the Debtor filed a Voluntary Petition for relief under Chapter

11 of the Bankruptcy Code (the “Chapter 11 Case”) with the United States Bankruptcy Court for

the Northern District of Illinois, Eastern Division.



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        2.      The Debtor, as Debtor In Possession, has continued in possession of its property,

pursuant to 11 U.S.C. §§1107 and 1108; and, no trustee has been appointed in this case.

        3.      This Court has jurisdiction over this adversary proceeding pursuant to Title 28

U.S.C. § 1334, and Rule 7001 Fed. R. Bankr. P. et seq.

        4.      This is a core proceeding pursuant to Title 28 U.S.C. § 157(b)(2)(A), (B), (M),

and/or (O), and 11 U.S.C. §105(a), in which this Court is empowered to enter final judgment.

Further, this Court has the Constitutional authority to adjudicate the merits of the subject matter

of this proceeding. The Debtor consents to this Court’s adjudication of this matter by the entry of

a dispositive order.

        5.      Venue is proper in this District pursuant to Title 28 U.S.C. § 1409(a).

                                              PARTIES

        6.      The Debtor is an Illinois limited liability company engaged in the business of

owning, leasing and operating gasoline stations selling gasoline, food and beverages to its retail

customers at stations located in multiple states, including Mississippi, Virginia, Louisiana, South

Dakota, Illinois, Indiana, Michigan, Ohio, Minnesota and Wisconsin.

        4.      ITRIA VENTURES, LLC, (“Itria”) is a financial services company that offers

diverse programs to its customers. Between November 16, 2021, and February 14, 2022, Itria

entered into five agreements with the Debtor entitled Future Receivables Sales Agreements whereby

Itria extended credit in the aggregate amount of $1,300,000.00 to the Debtor through the purported

purchase of the future receivables of the Debtor’s business. Itria took a security interest in the assets

of the Debtor and allegedly perfected its security interest by filing with the Secretary of State of

Illinois a UCC-1 financing statement.



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        5.      FOX CAPITAL GROUP, INC., (“Fox”) is a financial services company that offers

diverse programs to its customers. On August 9, 2022, and November 23, 2022, Fox entered into

two agreements with the Debtor and its affiliates whereby Fox extended credit of $500,000.00 to the

Debtor through the purported purchase of the future receivables of the Debtor’s business. Fox took

a security interest in the assets of the Debtor and allegedly perfected its security interest by filing

with the Secretary of State of Illinois a UCC-1 financing statement.

        6.      BYZFUNDER NY, LLC, (“Bzyfunder”) is a financial services company that offers

diverse programs to its customers. On October 25, 2022, Bzyfunder entered into an agreement with

the Debtor and its affiliates whereby Fox extended credit of $325,000.00 to the Debtor through the

purported purchase of the future receivables of the Debtor’s business. In addition, Byzfunder took a

security interest in the assets of the Debtor and allegedly perfected its security interest by filing with

the Secretary of State of Illinois a UCC-1 financing statement.

        7.      THE HUNTINGTON NATIONAL BANK (“Huntington”) filed suit in the United

States District Court for the Northern District of Illinois against the Debtor and its affiliates under

case number 23-cv-01368 on March 6, 2023, seeking judgment in the sum of $1,880,075.01. The

District Court granted the motion of Huntington and entered an attachment order on March 16,

2023, against assets of the Debtor including but not limited to bank accounts, motor vehicle, the

residence of the guarantor and principal owner of the equity interests of the Debtor, and one of the

Debtor’s stations situated in the State of Illinois. On June 22, 2023, the Debtor commenced an

Adversary Proceeding 23-ap-0168 against Huntington under §547 of the Bankruptcy Code, 11

U.S.C. §547 to avoid its attachment against assets of the Debtor as a preferential transfer, which

action is pending before this Court.



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                                                FACTS

        8.       Itria, Fox, Byzfunder and Huntington each allegedly assert either (a) interests in

assets of the Debtor and/or (b) a security interest in the assets of the Debtor.

        9.       There is no known method of identifying which receivables may have been

purchased by Itria as opposed to being purchased by Fox as opposed to being purchased by

Byzfunder.

        10.      Further, the Debtor contends that the agreements between Itria, Fox and Byzfunder

grant security interests to those parties as the agreements constitute disguised security agreements.

        11.      Itria, Fox and Byzfunder also assert a perfected security interests in the assets of the

Debtor and the cash proceeds of those assets.

        12.      Huntington claims an interest pursuant to its Attachment Order in and to the cash

balances contained in the Debtor’s bank accounts which received deposits of proceeds of the sales

of the Debtor.

        13.      The respective rights of Itria, Fox, Byzfunder and Huntington in the various assets

and the proceeds thereof of the Debtor are uncertain and contradictory inter se, resulting in the

uncertainty of the respective rights of Itria, Fox, Byzfunder and Huntington as to the nature,

extent and priority of those adverse rights.

        14.      The uncertainty of the nature, extent and priority of the rights of these creditors

render it impossible to determine the appropriate treatment of those rights for the purposes of

providing adequate protection, lien priority and payment under a plan.

        15.      Doubt exists as to the continued existence on the Petition Date of the accounts

receivable which Itria, Fox and Byzfunder assert to hold an interest against.              Further, the



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accounts receivable generated after the Petition Date by the Debtor-in-Possession are not subject

pursuant to §552 of the Bankruptcy Code to the rights of these creditors.

       WHEREFORE, the Debtor, prays that this Court enter an order as follows:

       A.      Determining and declaring the validity, nature, extent and priority of the rights of

            Itria, Fox, Byzfunder and Huntington inter se in and to the assets of the Debtor in this

            case;

       B.      Determining and declaring the extent to which the claims of Itria, Fox, Byzfunder

            and Huntington hold secured claims and to the extent that those claims are unsecured

            claims; and,

       C.      For such other further relief as this Court deems just.


                                                       /s/ Gregory K. Stern
                                                       Gregory K. Stern, Attorney




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